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                        United States District Court
                       For the District of New Jersey



Rahman Fulton

     v.                                      Civ. No. 18-16526 (SRC)

United States of America




   RESPONSE TO MOTION TO VACATE, SET ASIDE OR CORRECT
          SENTENCE PURSUANT TO 28 U.S.C. § 2255




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                                   INTRODUCTION

      Petitioner Rahman Fulton (“Fulton”) was a sanitation worker in Morris

County who was behind on his rent payments and owed his girlfriend money.

On May 25, 2012, he robbed a bank at gunpoint and stole approximately

$1,700. Over the course of an eight-day jury trial in 2014, defense counsel

Carol Gillen and K. Anthony Thomas (“defense counsel”) aggressively

challenged the Government’s case and presented testimony from a defense

expert, a defense investigator and alibi witnesses. Fulton was ultimately

convicted of one count of bank robbery and one count of using a firearm in

furtherance of a crime of violence. This Court sentenced Fulton to 141 months’

imprisonment. A panel of the Third Circuit affirmed Fulton’s conviction.

      Fulton now contends that he received constitutionally ineffective

assistance from his defense counsel before and during trial. Fulton states the

following grounds in his motion:

      Ground One:       “Failure to Prepare and Present an appropriate
                        misidentification defense from evidence in
                        defense counsel possession pre-trial”

      Ground Two:       “Failure to provide a defendant-requested
                        ‘Photogrammetry Expert’ and data prejudiced
                        the defendant….”

      Ground Three:     “Failure to correctly impeach Government
                        witnesses at trial on evidence in their possession
                        which created prejudice against Defendant.”

      Ground Four:      “Failure to Investigate and Develop a proper alibi
                        for defense.”

      Ground Five:      “Failure to locate or interview Defense witnesses
                        who could have supported a potentially effective
                        defense…at trial.”

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         All of Fulton’s claims fail both the deficient performance prong and the

prejudice prong of the stringent standard governing ineffective assistance of

counsel claims. Because he cannot meet the high burden under 28 U.S.C.

§ 2255 and because his factual allegations are not specific and particularized,

this Court should deny Fulton’s motion without a hearing.

                                 STATEMENT OF FACTS

A.       Factual History

         Although he was employed as a sanitation worker for the Morris County

Municipal Utilities Authority, A524-25, Fulton was behind on his rent

payments, A178, and owed his girlfriend money, A606.1 Despite obviously

needing the money, on May 25, 2012, Fulton falsely claimed to be sick and did

not go to work, A526-29, 536, 592-93, spent the morning playing video games

with a teenager, A937-40, and failed to provide a doctor’s note to his employer,

A527—thereby forfeiting his holiday pay for the upcoming Memorial Day

holiday, A527-29. Fulton, however, had decided on another source of funds.

         May 25 had been a “normal working day” at the PNC Bank in Randolph,




 1 “A” refers to Defendant’s Appendix on appeal. “SA” refers to the Supplemental
 Appendix supplied by the United States on appeal. “DB” refers to Defendant’s Brief.
 “Exs. 531-37” refers to trial exhibits 531-37 (which were submitted in CD form by
 Defendant on appeal). “PSR” refers to the Pre-Sentence Report filed under seal with
 this Court. “StR” refers to the Statement of Reasons filed under seal with this Court.
 “Fulton Motion” and “Fulton Brief” refer to Fulton’s 2255 motion and accompanying
 brief (Docket Entry 1 in this case). References to the criminal docket in United States
 v. Rahman Fulton, Cr. 13-261 are preceded by “#”. For the Court’s and the
 Defendant’s convenience, the Government will submit courtesy copies of this brief as
 well as the Defendant’s Appendix on appeal and the Supplemental Appendix on
 appeal.


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New Jersey, and that afternoon the four employees were discussing the

upcoming holiday weekend. A51-52, 74, 77, 957. At 4:08 p.m., however,

everything changed. A98. At that time, the front doors of the bank “slam[med]”

open, and the employees were “greeted” by Fulton, A78-79, who “rushed in

through the front door,” A957, covered “head-to-toe” in multiple layers of

“bulky” clothing, A67; see A54-55, 78, 80-81, 823, 959, 1219-23. Carrying a

gun, which he “cocked” and “point[ed]” at the bank employees, A74; see A55,

81, 83, 825-29, 1219-22, 1227, Fulton ordered them to the ground and

“demanded that the tellers give him $10,000,” A74-75; see A52, 957. After two

employees gave Fulton money, A53, 59, 957-58, and having spent just 45

seconds inside, A97, Fulton declared that he was “outta here” and he ordered

the employees not to “hit the alarms,” A54; see A94-98. Fulton left with $1777.

A101-02.

        Unbeknownst to Fulton, his spoils included something else—a GPS

tracking device hidden inside a bundle of cash. A53-54; see A91-92, 113-32,

246-50. That device tracked Fulton’s short escape, from the PNC Bank to

Victory Gardens, New Jersey, A134-48, 253-316; Exs. 531-37, where, at

approximately 4:15 p.m., it repeatedly reported its location at Fulton’s

residence,2 in an area consistent with his bedroom, A293-300, 316; see A171-

73, 775-76, 942, 1226; Ex. 534. At 4:18 p.m., the GPS device suffered a “high

impact” shock, A309; see A268, 306-14, after which it reported from an


2 Throughout this brief, in order to avoid using the residence’s street address, in
violation of Fed. R. Crim. P. 49.1, the Government will refer to the residence as
“Fulton’s” or “Calcaterra’s.”


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adjoining backyard, where three of the four pieces of the broken device were

later recovered, A268, 301-04, 453-71, 503-11, 866; Ex. 537.

      Just one minute later, at 4:19 p.m., Fulton—in a departure from past

practice—called his girlfriend’s sister, Karina Echevarria, who worked at a

Kmart store in the same shopping center as the PNC Bank. A564-78. Fulton

asked Echevarria “whether or not there was something going on outside the

Kmart,” A578, which was the first time that Echevarria had heard that

something “unusual was going on that afternoon,” A575. Echevarria went

outside, checked, and called Fulton back at 4:24 p.m., relaying that “something

happened at the PNC Bank.” A578-80. Fulton responded that “there were

policemen everywhere looking for the person who robbed the bank.” A580-81.

      While the GPS device had notified local law enforcement officers about

the bank robbery, e.g., A499, 614-16, 762, it took several minutes for them to

respond to Victory Gardens, e.g., A425. Law enforcement officers drove through

the neighborhood at approximately 4:18 p.m., A429-33, before setting up a

perimeter in the area where the GPS device was reporting, A359, 404, 434-35,

618-19.

      After their arrival in what was a “chaotic” situation, A433, 764, officers

began investigating several leads, including video cameras mounted to a house

and the backyard from which the GPS device was reporting, A381-89, 411-13,

453-71, 503-11.    At that time, however, the officers did not mention the bank

robbery to those in the neighborhood. A188-91. At approximately 5:00 p.m.,

officers first began canvassing the neighborhood, walking from door-to-door.



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A471-80, 514-17, 521. They initially saw no one matching the description they

received of the robber, A473, 479-80, 517—“a large black male wearing dark

clothing or black clothing armed with a handgun” and weighing approximately

210 pounds, A401, 476-77; see A431, 509, 620; see also A55, 80-81, 959.

Among those interviewed was Michael Calcaterra, who rented a room to Fulton

but had not seen him that day and therefore told officers that no one (besides

him and his son) was at his house. A168, 179, 188-89, 475-77; see A783.

      Later that evening, however, officers received reports that a man matching

the description of the robber was seen at Calcaterra’s residence. A481, 620.

After 6:00 p.m., Lieutenant Stephen Wilson went to that house, where he

interviewed Fulton, A620, who had previously been peering through the

house’s windows, A951, 954. Fulton told Wilson that he had been at work that

day and had returned home around 4:00 p.m., at which time he was with his

girlfriend, Rosalyn Torres. In support of that alibi, Fulton pointed to the woman

seated next to him, who did not speak English and was, in fact, Calcaterra’s

girlfriend, not his. A621-24; see A591-94, 781.

      In the days following the robbery, law enforcement officers investigated

various leads. E.g., A765-68, 830. For example, they learned that another large

black male, Ricardo Barnes, lived in the residence adjoining Fulton’s. A784-85,

791. Officers, however, decided that Barnes was not a suspect, because: at over

300 pounds, he was “way bigger than the bank robber,” A784-87, 789, 814,

836-38; and Barnes’ cell phone records corroborated his story that he did not

rob the bank and had traveled widely that day, showed that he received a call



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at the time of the robbery, and showed that he was not at the PNC Bank during

the robbery, A839-47, 923-27; see A358-59, 658-64, 728-33. Indeed, records

showed that at 4:08 p.m., Barnes’ cell phone was at the very least 1000 feet

away from the PNC Bank. A730-31.

      On July 5, 2012, officers executed a search warrant at Fulton’s

residence and interviewed him. A777-80. Fulton admitted that he lied about

being at work on the day of the bank robbery, and he claimed that he first

learned about the robbery from his neighbor, who had seen it on the news.

A778-80. Although nothing was found during the search, A778, Fulton told

Torres afterwards that he was concerned that officers had discovered a piece

of the broken GPS in the attic, A597-99; see A866, which could only be

accessed from stairs in Fulton’s bedroom, A175-76, 600. Although Torres was

“upset” and “scared” by Fulton’s admission, A598-600, she later asked

Calcaterra to write a statement in support of him, A222-23. While

incarcerated and awaiting trial, Fulton was recorded telling a friend that he

was trying to avoid working out “because I ain’t wanna get too big again.”

A1053-54.

B.    Procedural History

      Fulton was arrested on December 14, 2012, A13, and ultimately charged

with: one count of bank robbery, in violation of 18 U.S.C. § 2113(a); and one

count of brandishing a firearm during a crime of violence, in violation of 18

U.S.C. § 924(c)(1)(A)(ii). A14, # 16.




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      1.    The Trial

      An eight-day jury trial began before the Hon. Stanley R. Chesler,

U.S.D.J., on January 14, 2014. During the Government’s case, the jury heard

the testimony of: Robin Hunt and Carol Viola, both of whom were PNC Bank

employees who witnessed the bank robbery; Ed Farrington, a security analyst

for PNC Bank; Jennifer Walsh and Dr. Richard Fuller, both of whom discussed

the GPS tracking device, the latter as an expert in GPS technology; Victory

Gardens residents Michael Calcaterra and Frank Childs; Ricardo Barnes and

his mother Monica; Frederick Wilson and Helen O’Keefe, who worked for the

Morris County Municipal Utilities Authorities; Karina Echevarria, who testified

about her phone conversations with Fulton following the robbery; Fulton’s

girlfriend, Rosalyn Torres; Special Agent William Shute, who testified as an

expert in historical cell site analysis; Lieutenant Wilson, who testified about his

conversation with Fulton on the day of the robbery; Lieutenant Jeffrey Gomez

and Special Agent James Scartozzi, who testified about their investigation of

this case; and numerous other law enforcement officers who responded to

Victory Gardens. The jury also viewed security video footage of the robbery

and animation showing the track of the GPS following the robbery. During the

trial, defense counsel objected to evidence and expressed disagreement with

many of the Government’s arguments. E.g., A215, 216, 220, 221, 520, 816,

817, 823, 848, 857, 1035, 1039-46, 1136-37, 1159-60.

       During Fulton’s case, the jury heard the testimony of: Victory Gardens

 residents Anthony Calcaterra and Keith Munro; PNC Bank teller Cynthia



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 Womack; Defense Investigator Nicole Dreyer; and Robert Beegle, who testified

 as an expert in cell phone call detail analysis. Fulton’s theory of defense,

 which he pursued relentlessly, was that Ricardo Barnes robbed the bank.

 According to Fulton’s defense, the pictures and video of the robber matched

 Barnes, not Fulton, and law enforcement officers put on “blinders” when they

 focused on Fulton to the exclusion of Barnes. A1124-45; e.g., A39-41, 208-10,

 610, 635-38, 640-41, 665-94, 735-41, 789-813, 887-918, 928, 936-45, 990-

 1001, 1021-33.

       On January 28, 2014, following a short period of deliberations, SA28;

 A19,# 65, the jury returned guilty verdicts as to both counts of the Indictment,

 A1214-16; see A20, # 67. A sentencing hearing was held on December 22,

 2014, during which the District Court “compliment[ed]” trial counsel, noting

 that they had “done an extraordinary job” in this “vigorously and hotly

 contested case.” See SA1-34. After considering the arguments of the parties

 and the 18 U.S.C. § 3553(a) factors, the District Court imposed a within-

 Guidelines sentence of 141 months’ imprisonment. A4; SA27-31; StR.

      2.    The Appeal

      On Appeal, Fulton argued that government witnesses offered improper

opinion testimony regarding Ricardo Barnes’ phone usage on the day of the

robbery, that government witnesses offered improper opinion testimony that

Fulton matched and Barnes did not match the person seen on the surveillance

video, and that the government’s closing argument mischaracterized the expert

testimony regarding the location of the GPS device.



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      The Third Circuit affirmed the conviction, holding that the government’s

closing did not mischaracterize the expert testimony and that the government

witnesses gave proper lay opinion testimony regarding the height of the suspect

shown on the surveillance video. The Court also characterized certain

testimony by government witnesses regarding phone usage during the day of

the robbery and the appearance of Fulton and Barnes as compared to

surveillance photos as improper lay opinion, but held their admission did not

amount to plain error. See United States v. Fulton, 837 F.3d 281 (3d Cir. 2016).

                                    ARGUMENT

      Fulton bears the burden of establishing counsels’ ineffectiveness under

Strickland v. Washington, 466 U.S. 668 (1984). See Smith v. Robbins, 528 U.S.

259, 285 (2000). To meet that burden, Fulton must make two distinct

showings: (1) deficient performance and (2) prejudice. See Strickland, 466 U.S.

at 687.

      The deficient performance prong requires a showing that defense

counsel’s conduct fell below an “objective standard of reasonableness” with

evidence overcoming the “strong presumption” that counsel’s strategy and

tactics fell “within the wide range of reasonable professional assistance.” Id. at

688−89; accord Cullen v. Pinholster, 131 S. Ct. 1388, 1403 (2011). Trial

counsel’s “strategic choices . . . are virtually unchallengeable,” Strickland, 466

U.S. at 690, and “reviewing counsel’s performance, the court must be highly

deferential,” United States v. Lore, 26 F. Supp. 2d 729, 738 (D.N.J. 1998)

Rodriguez, J.) (citing Strickland, 466 U.S. at 689).



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         The prejudice prong, in turn, requires a showing that counsel’s deficient

performance “prejudiced the defense” with proof of a “reasonable probability”

that, but for counsel’s unprofessional errors, “the result of the proceeding

would have been different.” Strickland, 466 U.S. at 687, 694. A “reasonable

probability” is a probability sufficient to undermine confidence in the outcome”

of the case. Id. at 694. In other words, counsel’s deficiency must lead to the

“result of the proceeding [being] fundamentally unfair or unreliable.” Lockhart

v. Fretwell, 506 U.S. 364, 369 (1993). Moreover, nothing prevents a court from

analyzing whether the movant has proven prejudice, and after concluding that

the petitioner has not, denying the petitioner’s claim without ever analyzing

counsel’s performance. Strickland, 466 U.S. at 697 (“If it is easier to dispose of

an ineffectiveness claim on the ground of lack of sufficient prejudice, . . . that

course should be followed”); Smith v. Robbins, 528 U.S. 259, 286, n.14 (2000.)

A.      Defense Counsel Was Not Ineffective with Respect to their Witness
        Selections at Trial

        Fulton contends that defense counsel should have called a witness that

he claims would have testified that Barnes told them on the day of the bank

robbery that he “had just got his hand on some cash and wanted to meet up,

but was unable to retrieve his car due to his street being blocked off by police.”

Fulton Brief at 33.3 Fulton does not provide the name of this witness, fails to


3 In Exhibit 1, Fulton provides similar information, “Around 4:19:53 PM Barnes
receive[d] a call from a witness not called for trial; and had she testified, she would
have testified that Barnes told her that ‘he had gotten his hands on some cash and
wanted to meet her, but [his] street and neighborhood was blocked off by Police and
would need to meet here [sic] later in the day in the Irvington – Orange Area.” Fulton
Brief, Exhibit 1 at 8. Fulton also provides this slightly different description, “told a


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provide an affidavit or any competent evidence of what the witness’s testimony

would have been at trial, or even indicate what the source is for the alleged

quotation he puts into his brief. Fulton Brief at 33. Fulton goes on to say that

defense counsel informed him “that the witness would not cooperate with the

defense.” Id.

       Because Fulton fails to establish by competent evidence what this

unnamed witness would have said his claim must fail. The Third Circuit has

“repeatedly emphasized that ‘bald assertions and conclusory allegations do not

afford a sufficient ground for an evidentiary hearing’ on a habeas petition.”

Palmer v. Hendricks, 592 F.3d 386, 395 (3d Cir. 2010) (citations omitted). See

Duncan v. Morton, 256 F.3d 189, 201–02 (3d Cir. 2001) (refusing prisoner’s

invitation “to speculate both as to whether Sherman would in fact have testified

on his behalf and as to what Sherman’s testimony would have been.”); Forbes,

2014 WL 799002, at *5 (“Bell’s refusal to provide an affidavit in support of

Forbes’s motion for discovery and to even speak with Forbes’s attorneys makes

it clear that Forbes’s contention as to the testimony that Bell would give is

based on speculation and that all Forbes has provided the court is mere

conclusory allegations asserted by counsel which the court does not accept as

facts”); United States v. Aiello, 814 F.2d 109, 113–14 (2d Cir. 1987) (a § 2255

“application must contain assertions of fact that a petitioner is in a position to




witness during this 4:18:53 call that he was in the area of his Mother’s house at the
time of the robbery – but was tied up and unable to retrieve his car at that time due to
his street being blocked of [sic] by police.” Fulton Brief, Exhibit 1 at 8. Fulton provides
no source for these alleged quotations.


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establish by competent evidence,” such that “[a]iry generalities, conclusory

assertions and hearsay statements will not suffice because none of these would

be admissible evidence at a hearing”) (citing Machibroda v. United States, 368

U.S. 487, 495-96 (1962); Dalli v. United States, 491 F.2d 758, 761 (2d Cir

1974)); Barry v. United States, 528 F.2d 1094, 1101 (7th Cir. 1976) (“the

petition must be accompanied by a detailed and specific affidavit which shows

that the petitioner has actual proof of the allegations going beyond mere

unsupported assertions”) (footnotes omitted).

       Further, defense counsel is not required to put on an uncooperative

witness. “An attorney can avoid activities that appear ‘distractive from more

important duties.’” Harrington v. Richter, 131 S. Ct. 770, 789 (2011) (quoting

Bobby v. Van Hook, 558 U.S. 4, 11 (2009) (per curiam)). Defense counsel here

was “entitled to formulate a strategy that was reasonable at the time and to

balance limited resources in accord with effective trial tactics and strategies.”

Richter, 131 S. Ct. at 789. “An attorney need not pursue an investigation that

would be fruitless, much less one that might be harmful to the defense.” Id. at

789−90.

      Thus, defense counsel “was not bound by an inflexible constitutional

command to interview every possible witness.” Lewis v. Mazurkiewicz, 915 F.2d

106, 113 (3d Cir. 1990). Instead, they were “simply required to exercise

reasonable professional judgment in deciding whether to interview.” Id.

Further, “courts may not indulge ‘post hoc rationalization’ for counsel’s

decisionmaking that contradicts the available evidence of counsel’s actions.’”



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Richter, 131 S. Ct. at 790 (quoting Wiggins v. Smith, 539 U.S. 510, 526–27

(2003)). But “neither may they insist counsel confirm every aspect of the

strategic basis for his or her actions,” given the “‘strong presumption’ that

counsel’s attention to certain issues to the exclusion of others reflects trial

tactics rather than ‘sheer neglect.’” Richter, 131 S. Ct. at 790 (quoting

Yarborough v. Gentry, 540 U.S. 1, 8 (2003) (per curiam)). “The question is

whether an attorney’s representation amounted to incompetence under

‘prevailing professional norms,’ not whether it deviated from best practices or

most common custom.” Moore, 131 S. Ct. at 740 (quoting Strickland, 466 U.S.

at 690). Here, Fulton admits that defense counsel explained that the unnamed

witness would not cooperate with the defense.

      Witness selection is entrusted to defense counsel’s sound judgment, not

to the defendant. See Virgin Islands v. Weathermax, 77 F.3d 1425, 1434 (3d

Cir. 1996) (citing cases). In reviewing that exercise of judgment, this Court

must not only give defense counsel “the benefit of the doubt” but also

“affirmatively entertain the range of possible reasons” that they “may have had

for proceeding as [they] did.” Pinholster, 131 S. Ct. at 1407 (quotation marks

omitted). That is because “Strickland . . . calls for an inquiry into the objective

reasonableness of counsel’s performance, not counsel’s subjective state of

mind.” Richter, 131 S. Ct. at 791. Here, no one could say that it was objectively

unreasonable for defense counsel to have decided that calling a witness that

would not cooperate with the defense would do more harm than good. Cf.

Mirzayance, 556 U.S. at 125 (“Competence does not require an attorney to



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browbeat a reluctant witness into testifying, especially when the facts suggest

that no amount of persuasion would have succeeded.”).

         Fulton similarly faults defense counsel for “[n]ot interviewing key

witnesses that easily would have proven Fulton could not have committed the

crime,” but fails to explain how these individuals would have proven that he

did not commit the crime. Fulton Brief at 14. Fulton refers to “at least two (2)

individuals . . . that could have bolstered the Petitioner’s alibi defense” but

does not say in his brief who these individuals were or what their testimony

would have been or how the testimony would have been significantly different

from the cross examination of Michael Calcaterra or the testimony of the alibi

witnesses his defense team did call: Anthony Calcaterra and Keith Munro. Id.

at 33.

         In Exhibit F to his brief, Fulton suggests that Irma Fernandez would

have been one of these witnesses: “Irma was home all day with Fulton, but no-

one called her as a witness . . . She would have been the second eyewitness.”

Fulton Brief, Exhibit F at 41. Fulton does not describe or offer any competent

evidence of what Irma Fernandez’s trial testimony would have been. For this

reason alone, his claim must fail. It also must fail because defense counsel

chose to pursue a defense strategy that involved putting up several alibi

witnesses and witness selection is entrusted to defense counsel’s sound

judgment, not to the defendant. See Weathermax, 77 F.3d at 1434 (3d Cir.

1996) (citing cases); United States v. Williams, 166 F. Supp. 2d 286, 306-07

(E.D. Pa. 2001) (denying ineffective assistance of counsel claim where



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defendant made no showing as to what type of evidence would have been

revealed with more investigation as “[b]ald assertions and conclusory

allegations do not afford a sufficient ground for an evidentiary hearing in

habeas corpus matters.”) (quoting Mayberry v. Petsock, 821 F.2d 179, 185 (3d

Cir. 1987)); see also Lewis v. Mazurkiewicz, 915 F.2d 106, 115 (3d Cir. 1990)

(“With respect to trial counsel’s decision not to interview Miller, petitioner has

failed to show a reasonable likelihood that such an interview would have

produced any useful information not already known to trial counsel[.]”)

      Fulton also faults his counsel because he claims that no one contacted

Nicola Gibbs to verify Barnes’s claim that he was out shopping with her. Fulton

Brief at 21. Fulton fails to establish that this claimed conduct fell below

“prevailing professional norms,” fails to set forth any alleged prejudice for this

claim, and sets forth no competent evidence of what his requested investigation

would have shown and how it would have altered the course of the trial.

Strickland 466 U.S. at 687. For these reasons, this claim must fail.

      Fulton claims that had the defense contacted Barnes’s prior employers

they would have established they had used GPS tracking devices. Fulton Brief

at 21-22. Fulton again fails to set forth any competent evidence of what his

requested investigation would have shown. He also can show no prejudice or

that this conduct constitutes ineffective assistance of counsel where he admits

that his counsel obtained a stipulation that stated that Barnes’s prior employer

was in fact a customer of 3SI, a company that provides GPS tracking devices.

Fulton Brief at 22. For these reasons, this claim must fail.



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      Fulton claims his defense counsel should have called a photogrammetry

expert to compare the head size of the bank robber—who was wearing several

masks—to pictures of an unmasked Fulton to testify that Fulton’s head was

smaller than the multiple-masked bank robber. Fulton Brief at 17. However

“selection of an expert witness is a paradigmatic example of the type of

‘strategic choic[e]’ that, when made ‘after thorough investigation of [the] law

and facts,’ is ‘virtually unchallengeable.’” Hinton v. Alabama, 134 S. Ct. 1081,

1089 (2014) (per curiam) (quoting Strickland, 466 U.S. at 690). Further, the

argument that Fulton did not match the surveillance images was advanced by

defense counsel and was described by the Third Circuit as follows:

      At trial, Fulton asked Michael Calcaterra (Fulton’s roommate) and
      Rosalyn Torres (Fulton’s girlfriend at the time of the robbery) to
      review the surveillance images and opine on whether they depicted
      him. Both of those witnesses were intimately familiar with Fulton’s
      appearance. . . Calcaterra testified Futon had a different
      appearance from that of the robber in the surveillance footage.
      Michael Calcaterra explained that the robber appeared to be
      “chunkier,” Fulton was a “little more defined,” and Fulton’s head
      was smaller. Torres testified similarly.

Fulton, 837 F.3d at 299.

       With respect to the surveillance images, the Government did not argue

 that they matched Fulton. In closing argument, the Government displayed the

 images to the jury and argued that they excluded Barnes, but did not exclude

 Fulton:

      Let’s pull up Exhibit 181. The defense has suggested that the
      defendant somehow doesn’t fit the description of the bank robber.
      And let’s be clear, no one is suggesting that you can be absolutely
      certain from looking at these photographs and the photographs
      alone that this is the defendant. That would be ridiculous.



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      The point is that the defendant is not ruled out by these
      photographs. Ricardo Barnes is ruled out because he’s way too big,
      but the defendant is not ruled out.

      What do we know about what the bank robber was wearing?
      Multiple layers of clothing, including a sweater that is obviously
      too large. Look at the neckline. Multiple layers of head gear. . . here
      you can see the defendant adjusting his mask because his masks
      have become misaligned.

A1151. Thus, it was not ineffective assistance of counsel for defense counsel to

not call yet another witness to testify about how the surveillance photos do not

resemble Fulton. Nor does Fulton proffer competent evidence to show that his

expert would have been able to provide admissible expert testimony that the

head depicted in the surveillance video, which was covered by several masks,

was not Fulton’s. Fulton also fails to establish prejudice, particularly where his

defense team offered testimony from two witnesses that said what the

surveillance photos were not Fulton.

B.    Fulton Cannot Relitigate the Trial under the Guise of an Ineffective
      Assistance Claim

      At base, Fulton faults his defense counsel for not succeeding in

persuading the jury that Ricardo Barnes robbed the bank instead of him. This

is not a cognizable claim under 28 U.S.C. § 2255. According to defense

counsel during trial, the pictures and video of the robber matched Barnes, not

Fulton, and law enforcement officers put on “blinders” when they focused on

Fulton to the exclusion of Barnes. A1124-45; e.g., A39-41, 208-10, 610, 635-

38, 640-41, 665-94, 735-41, 789-813, 887-918, 928, 936-45, 990-1001,

1021-33. This theory of defense was pursued relentlessly throughout the trial

and at several stages of the trial, defense counsel scored points as it pursued


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this strategy. As the District Court pointed out:

      THE COURT: . . . from the semi-astonished look on the government
      attorneys’ faces, it appears that if this is Giglio, they are not fully
      aware or, indeed, are not aware of the existence of this Giglio.

      ***

      THE COURT: No. You obviously have better information than the
      government had about what he was doing – all right – and you
      were permitted to inquire into his [Barnes’s] Costco bad check . . . I
      think you did it very effectively, all right, and the only problem was
      he ‘fessed up very quickly.

A555 & A972.

      The Third Circuit also highlighted defense counsel’s vigorous and

effective attacks on the government witnesses:

      [O]n cross-examination, defense counsel elicited a critical
      admission from Scartozzi: the call in question might have gone to
      voicemail. Defense counsel also called its own investigator, Nicole
      Dreyer, who testified that the 4:08:44 p.m. phone call did go to
      voicemail. Thus, the jury clearly understood that the mere fact that
      Barnes received a call at 4:08:44 p.m. did not mean he took the
      call at that time. Dreyer's testimony was consistent with common
      sense.

      ***

      [D]efense counsel was able to solicit a concession from Scartozzi
      that the call in question could have gone to voicemail. This
      admission helped establish that Barnes was not necessarily on the
      phone at the time of the robbery. It exposed Scartozzi’s statement
      as a mere opinion, and an incorrect one at that. More importantly,
      Fulton’s investigator testified that the call in question did actually
      go to voicemail. Therefore, Fulton presented persuasive evidence
      that Barnes was not, in fact, on the phone at the time of the
      robbery. At the very least, defense counsel showed that Barnes
      should not have been excluded as a suspect merely because he
      received a call at 4:08 p.m.

Fulton, 837 F.3d at 290 & 294.

      Notwithstanding defense counsel’s trial strategy, Fulton still faults

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defense counsel for

      [f]ailing to fully investigate thoroughly Barnes’s criminal history,
      his motive, his so-called alibi, his need for cash, his ability, his
      availability, assessability [sic] etc . . . . knowing full well, that even
      on the day Barnes was to testify against Fulton, Barnes was a
      awaiting arrest for opening (5) five different fraudulent Costco
      accounts; then illegally running those fake accounts up to
      $14,000.00.

Fulton Brief at 14. Fulton refers to this as a “Giglio” violation and cites to A548,

A551, and A555. Fulton also faults defense counsel for not being allowed to

present Barnes’s pending arrest for “fraudulent acts at Costco at the time of his

trial testimony,” his “5 outstanding warrants (active) traffic violations,” (A552)

“multiple bad checks in violation of 2C:21-5,” “crime of disorderly persons, 3rd

Degree on passing another bad check for $1,756.66,” (A932-3) “Barnes pled

guilty to leaving the scene of a crime,” and Barnes’s social security number was

used or registered to multiple individuals with lengthy criminal background

history that was never resolved by the defense” (A643). Fulton Brief at 23.

      With respect to the fraudulent acts at Costco, defense counsel

repeatedly argued that they be permitted to inquire and the Court ruled

against them. A647. The Court ruled that defense counsel could inquire about

“the $1737 Costco check” and on cross-examination defense counsel got

Barnes to admit he wrote a bad check to Costco. A701 & 704. None of these

complaints come close to overcoming the “strong presumption that counsel’s

conduct falls within the wide range of reasonable professional

assistance.” Strickland, 466 U.S. at 698.

      Much of Fulton’s brief is focused on arguing the underlying facts that



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came into the record at trial. Those facts were put before the jury and were

addressed again on Fulton’s direct appeal. This is not the forum to try his

case again. See Gov't of Virgin Islands v. Nicholas, 759 F.2d 1073, 1074–75 (3d

Cir.1985) (citations omitted) (“A section 2255 petition is not a substitute for an

appeal . . . nor may it be used to relitigate matters decided adversely on

appeal . . . .”).

       Fulton’s complaints about the manner in which defense counsel

implemented their trial strategy cannot succeed here. “[T]he Constitution

guarantees criminal defendants only a fair trial and a competent attorney. It

does not insure that defense counsel will recognize and raise every conceivable

constitutional claim.” Engle v. Isaac, 456 U.S. 107, 134 (1982). Failure to

make a particular objection does not usually constitute ineffectiveness,

because objections necessarily fall within trial strategy. A failure to object is

not ineffective assistance unless the evidence is so prejudicial that it

“essentially defaults the case to the state.” Lundgren v. Mitchell, 440 F.3d 754,

774 (6th Cir. 2006).

C.     Defense Counsel Was Not Ineffective For Any of the Other Stated
       Grounds

       Fulton also faults defense counsel on a variety of other topics, including

attempting to move a document into evidence that was already in evidence

(A897), for attempting to impeach a law enforcement witness with the report of

another law enforcement witness (A419), for going beyond the scope of direct

during the cross examination of Michael Calcaterra (A228), for failing to admit

expert testimony showing that Barnes’s cellphone was in the bank parking lot

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which their own expert disclosure and the underlying data said was not proper

(A752, A969-971), for requesting unredacted version of police reports (A483),

for deciding not to call all of the witnesses on their witness list (A968), and for

failing to present a timeline similar to the one presented in his brief. None of

these constitute ineffective assistance of counsel and Fulton has not

established prejudice from any of these actions.

      Fulton also faults his defense counsel for not attacking the testimony of

Dr. Fuller (Fulton Brief at 15-17), but that claim is contradicted by the record,

does not constitute ineffective assistance, and Fulton has not established

prejudice. A319-342. Defense counsel questioned Dr. Fuller on several topics,

attacking the accuracy of his error ellipses using a large tape measure in a

courtroom demonstration (A320-327), his prior testimony for the government

(A331), elicited facts to support the Ricardo Barnes theme, namely that the

data could be consistent with someone driving a vehicle to the house adjoin

Fulton’s residence and reversing into its driveway (A333), Dr. Fuller’s initial

understanding that the structure where Fulton’s residence was located was one

building and that he later understood it to be two adjoined dwellings (A335),

that Dr. Fuller was very proud of the tracking device he helped design (A339-

340), and used testimony from prior testimony in another trial to attack Dr.

Fuller’s testimony that the tracking device functions better when mobile (A340-

341). None of this constitutes ineffective assistance of counsel, and counsel’s

decisions about whether and to what extent to conduct cross-examination are




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necessarily strategic and thus “effectively insulated” from ineffectiveness

review. See Hurley v. United States, 10 Fed.Appx. 257, 260 (6th Cir. 2001).

      Fulton also faults his defense counsel for not making efforts to change

the grand jury testimony of Rosalyn Torres and Karrina Echevarria which

inculpated the defendant. Fulton Brief at 34. This too does not constitute

ineffective assistance of counsel and Fulton has not shown prejudice. But

furthermore, Fulton’s factual suggestion that the testimony would have

changed in some way if these witnesses knew they could change their

testimony is contradicted by the record:

      Q:    Miss Echevarria, a moment ago you said that you did not
            know that you could correct or change your testimony.
            Correct?

      A.    Yes.

      Q.    Isn’t it true that you were told that during your grand jury
            testimony?

      A.    I don't remember.

      Q.    Please turn to page J-1122, and read lines 22 to the next
            page, J-1123, line five, and let me know when you’re done
            reading it to yourself. Are you done reading to yourself?

      A.    Uh-huh.

      Q.    Did that refresh your recollection about whether or not you
            were told that you could correct or change your testimony?

      A.    Yes.

      Q.    You were told that --

      A.    Yes.

      Q.    -- weren't you? I told you that, didn't I?



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      A.     Yes.

      Q.     But you never did contact anyone to change or correct your
             testimony. Correct?

      A.     Yes.

A575-576. With respect to Ms. Torres the record is similar:

      Q.     Miss Torres, when you testified before the grand jury and
             you were told that after you left the grand jury, if you
             decided that anything that you said was incorrect,
             incomplete or untrue in any way, or if you want to make
             additions or changes to your testimony, you may have the
             opportunity to do so, and told that you should contact the
             U.S. Attorney's Office immediately if you wanted to make any
             such corrections and were asked if you had any questions
             about that. Right?

      A.     Correct.

      Q.     And you said you didn't have any questions about that.

      A.     No.

A611. For these reasons, Fulton’s other grounds do not establish ineffective

assistance of counsel.

D.    No Evidentiary Hearing is Necessary

      In resolving Fulton’s ineffective assistance of counsel claims, this Court

is “required to hold an evidentiary hearing unless the motion and files and

records of the case show conclusively that the movant is not entitled to relief.”

United States v. Lilly, 536 F.3d 190, 195 (3d Cir. 2008) (quotation marks and

internal quotation marks omitted). If the petitioner fails to sufficiently lay out

the appropriate allegations or fails to show prejudice, an evidentiary hearing is

not necessary. See Duncan v. Morton, 256 F.3d 189, 201–02 (3d Cir. 2001)



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(refusing prisoner’s invitation “to speculate both as to whether Sherman would

in fact have testified on his behalf and as to what Sherman’s testimony would

have been.”); Forbes, 2014 WL 799002, at *5 (“Bell’s refusal to provide an

affidavit in support of Forbes’s motion for discovery and to even speak with

Forbes’s attorneys makes it clear that Forbes’s contention as to the testimony

that Bell would give is based on speculation and that all Forbes has provided

the court is mere conclusory allegations asserted by counsel which the court

does not accept as facts”); United States v. Aiello, 814 F.2d 109, 113–14 (2d Cir.

1987) (a § 2255 “application must contain assertions of fact that a petitioner is

in a position to establish by competent evidence,” such that “[a]iry generalities,

conclusory assertions and hearsay statements will not suffice because none of

these would be admissible evidence at a hearing”) (citing Machibroda v. United

States, 368 U.S. 487, 495-96 (1962)); Dalli v. United States, 491 F.2d 758, 761

(2d Cir 1974)); Barry v. United States, 528 F.2d 1094, 1101 (7th Cir. 1976)

(“the petition must be accompanied by a detailed and specific affidavit which

shows that the petitioner has actual proof of the allegations going beyond mere

unsupported assertions”) (footnotes omitted).

      In addition to failing to allege facts constituting a sufficient ground for an

evidentiary hearing through the submission of affidavits or other competent

evidence, Fulton “has failed to establish that” counsel “prejudiced him in a way

that ‘undermine[s] confidence in the outcome.’” As such, this Court will “not

abuse its discretion in declining to hold an evidentiary hearing before denying”

Fulton’s claim. Id. at 197 (quoting Strickland, 466 U.S. at 694). Indeed, “a court



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should be reluctant to convene an evidentiary hearing to explore the claims of a

petitioner whose pleadings are factually insufficient to suggest any entitlement

to habeas relief.” Palmer v. Hendricks, 592 F.3d 386 (3d Cir. 2010).

         Since the underlying record unambiguously establishes that Petitioner is

not entitled to relief, no evidentiary hearing is warranted. See Gov't of V.I. v.

Forte, 865 F.2d 59, 62 (3d Cir.1989); see also Solis v. United States, 252 F.3d

289, 295 (3d Cir.2001) (“a defendant [is] not entitled to a hearing if his

allegations [are] contradicted conclusively by the record, or if the allegations

[are] patently frivolous”); accord Brown v. United States, 45 F. App'x 92, 95 (3d

Cir.2002) (“if [the claim] is nonfrivolous [but] fails to demonstrate either

deficiency of counsel's performance or prejudice to the defendant, then [the

claim] does not merit a hearing”).

         Even if Fulton had properly alleged facts with competent evidence, any

allegation of prejudice must be weighed against the trial evidence, which

included evidence that:

     ●       Fulton was behind on his rent payments and owed his
             girlfriend money, A178, 606;

     ●       Fulton called in sick on the day of the bank robbery, even
             though he was not sick, and never tendered a sick note to his
             employer, thereby forfeiting his pay for the upcoming holiday,
             A526-29, 536, 592-93;

     ●       Fulton was the same height and race as the bank robber,
             A55, 80-81, 220, 824;

     ●       A GPS tracking device hidden in the money taken from the
             PNC Bank reported that it was within Fulton’s residence for
             over a minute, before suffering a “high impact” shock and
             reporting from an adjoining backyard, where three of the four
             broken pieces were later discovered, A53-54, 91-92, 113-48,

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           171-73, 253-316, 453-71, 503-11, 775-76, 866, 1226; Ex.
           534;

   ●       As law enforcement was just arriving in his neighborhood,
           A425, 429-33, well before they were mentioning the bank
           robbery to residents, A188-91, 471-80, 514-17, 521, and
           immediately after the GPS device was destroyed, A309, Fulton
           called his girlfriend’s sister to inquire about “whether or not
           there was something going on” near the PNC Bank, A564-78,
           and told her that “there were policemen everywhere looking
           for the person who robbed the bank,” A578-81, a piece of
           evidence the Third Circuit called “particularly damning,”
           Fulton, 837 F.3d at 301.

   ●       Calcaterra did not see Fulton at home, A168, 179, 188-89,
           475-77, 783, but Fulton was later seen peering through the
           house’s windows, A951, 954;

   ●       During his first interview, Fulton falsely claimed that he went
           to work that day and spent the afternoon with his girlfriend,
           at which point he motioned to Calcaterra’s girlfriend, who did
           not speak English and therefore could not answer the officer’s
           questions, A591-94, 621-24, 781;

   ●       On the day his residence was searched, Fulton admitted that
           he lied about being at work, but then claimed, without
           mentioning his conversations with his girlfriend’s sister, that
           he first learned about the robbery from his neighbor, who saw
           it on the news, A778-80;

   ●       After his residence was searched, Fulton confided in his
           girlfriend that he was concerned that officers had discovered a
           piece of the broken GPS in the attic, A597-99, which could
           only be accessed from stairs in his bedroom, A175-76, 600;
           and

   ●       During a conversation that was recorded as Fulton awaited
           trial, he conveyed his desire to stop working out, so that he
           would not “get too big again,” A1053-54.

       In addition to this strong evidence linking Fulton to the robbery, there

was also strong evidence exonerating Barnes. It included:

   ●       Evidence that in the summer of 2012, Barnes weighed in
           excess of 300 pounds, A660-63, 785-89, 814, 836-37, 1230-

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               31;

     ●         Testimony from Barnes’ mother that he was not home that
               afternoon, and had not returned home before 4:45 p.m., when
               she left for work and the neighborhood had already been
               locked down, A358-61;

     ●         Testimony from Barnes that he did not rob the bank and was
               traveling widely that day, A658-64, 673;

     ●         Cell phone records corroborating Barnes’ account, A844-47;
               and

     ●         Cell phone records showing that at 4:08 p.m., the time of the
               bank robbery, Barnes’ cell phone, which he was carrying,
               A363, 670, 692, was not at the PNC Bank and was at the very
               least 1000 feet away, A723-31, 735.

     The Third Circuit noted that “Fulton's telephone call to Echevarria in

which he acknowledged awareness of the bank robbery that had just occurred

is particularly damning.” Id., at 301. The Court explained further as follows:

         Furthermore, the testimony regarding the location of the GPS
         indicated that it spent time in, above, or below Fulton's half of the
         house for significantly more time than it was in, below, or above
         Barnes’ half. Most damning of all, Fulton called his girlfriend's
         sister and mentioned the robbery immediately after the GPS was
         smashed and before police had arrived in his neighborhood. This
         call was very strong circumstantial evidence of Fulton’s guilt. This
         evidence would not have been sufficient, by itself, to prove Fulton's
         guilt beyond a reasonable doubt. But when considered together
         with all of the other evidence in this case, that phone call pointed a
         very strong finger of guilt directly at Fulton.

Id., at 281.

         Even if Fulton could somehow show that defense counsel’s performance

was constitutionally ineffective, which he cannot, he has not sufficiently alleged

prejudice, and Fulton’s allegations are too vague and conclusory to warrant a

hearing.


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                                   CONCLUSION

      In sum, because “counsel is afforded a wide range within which to make

decisions without fear of judicial second-guessing,” it is “‘only the rare claim of

ineffectiveness of counsel that should succeed under the properly deferential

standard to be applied in scrutinizing counsel’s performance.’” Buehl v.

Vaughn, 166 F.3d 163, 169 (3d Cir. 1999) (quoting United States v. Gray, 878

F.2d 702, 711 (3d Cir. 1989)). Fulton’s allegations here do not present one of

those rare claims. Accordingly, this Court should deny his § 2255 motion

without a hearing.



                                             Respectfully submitted,

                                             CRAIG CARPENITO
                                             United States Attorney

                                             s/ Daniel Shapiro

                                      By:    DANIEL SHAPIRO
                                             Assistant U.S. Attorney


Date: May 23, 2019




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                           CERTIFICATE OF SERVICE
        I, Daniel Shapiro, an Assistant United States Attorney, hereby certify

that:

        On May 23, 2019, I caused a copy of the attached Response To Motion To

Vacate, Set Aside Or Correct Sentence Pursuant To 28 U.S.C. § 2255 to be sent

to the following person:

        Rahman Fulton (via regular mail)
        64940-050
        Federal Correctional Complex-Allenwood Low
        P.O. Box 1000
        White Deer, Pa 17887

        I declare under penalty of perjury that the foregoing is true and correct.

                                       s/Daniel Shapiro
                                       DANIEL SHAPIRO
                                       Assistant U.S. Attorney


Dated: Newark, New Jersey
       May 23, 2019




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